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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/895416739" data-vids="895416739" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt;Page 1314&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;795 P.2d 1314&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;b class="ldml-bold"&gt;
v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Vincent Joseph SPOTO&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;No. 88SC611&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;,
En Banc.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;July 9, 1990&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-date"&gt;As Modified on Denial of Rehearing Aug. 27, 1990&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="225" class="ldml-paragraph no-indent mt-2"&gt;&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1315" data-id="pagenumber_225"&gt;&lt;/span&gt; &lt;span data-paragraph-id="225" data-sentence-id="233" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Duane Woodard&lt;/span&gt;&lt;/span&gt;, Atty. Gen., &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Charles B. Howe&lt;/span&gt;&lt;/span&gt;, Chief Deputy Atty. Gen., &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Richard H. Forman&lt;/span&gt;&lt;/span&gt;, Sol.&lt;/span&gt; &lt;span data-paragraph-id="225" data-sentence-id="326" class="ldml-sentence"&gt;Gen., and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Clement P. Engle&lt;/span&gt;&lt;/span&gt;, Asst. Atty. Gen., Denver, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;petitioner&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="396" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="396" data-sentence-id="404" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;David F. Vela&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Colorado State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Kathleen A. Lord&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;, Denver, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;respondent&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="526" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (LOHR)"&gt;&lt;span data-paragraph-id="526" data-sentence-id="534" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;LOHR&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="583" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="583" data-sentence-id="591" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari to review the judgment of the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals&lt;/span&gt; reversing the conviction of &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; &lt;span class="ldml-entity"&gt;Vincent Joseph Spoto&lt;/span&gt; for first degree murder and a crime of violence.&lt;/span&gt; &lt;span data-paragraph-id="583" data-sentence-id="777" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890094244" data-vids="890094244" class="ldml-reference" data-prop-ids="sentence_591"&gt;&lt;span class="ldml-refname"&gt;People v. Spoto&lt;/span&gt;, &lt;span class="ldml-cite"&gt;772 P.2d 631&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="583" data-sentence-id="828" class="ldml-sentence"&gt;The issue upon which review was granted is whether &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in admitting evidence of a prior incident involving &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s use of a gun to rebut &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s evidence of accident and lack of deliberation.&lt;/span&gt; &lt;span data-paragraph-id="583" data-sentence-id="1057" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in admitting the prior incident evidence, reversed &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conviction and remanded &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for a new trial.&lt;/span&gt; &lt;span data-paragraph-id="583" data-sentence-id="1227" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in admitting the evidence and therefore affirm the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="1" data-ordinal_end="1" data-value="I." data-specifier="I" data-parsed="true" data-format="upper_case_roman_numeral" data-content-heading-label="I.
" id="heading_1348" data-id="heading_1348"&gt;&lt;span data-paragraph-id="1348" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1348" data-sentence-id="1348" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1351" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1351" data-sentence-id="1359" class="ldml-sentence"&gt;Spoto was tried to a jury in El Paso County &lt;span class="ldml-entity"&gt;District Court&lt;/span&gt; on charges of first degree murder, &lt;sup class="ldml-superscript"&gt;1&lt;/sup&gt; conspiracy to commit first degree murder, &lt;sup class="ldml-superscript"&gt;2&lt;/sup&gt; and crime of violence &lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; arising out of the death of &lt;span class="ldml-entity"&gt;Roger Berg&lt;/span&gt; as a result of a gunshot wound inflicted by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1351" data-sentence-id="1620" class="ldml-sentence"&gt;The jury found &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; not guilty of conspiracy but guilty of first degree murder and crime of violence.&lt;/span&gt; &lt;span data-paragraph-id="1351" data-sentence-id="1731" class="ldml-sentence"&gt;Spoto appealed, asserting among other things that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in admitting evidence that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had used a gun on a prior occasion.&lt;/span&gt; &lt;span data-paragraph-id="1351" data-sentence-id="1869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; reversed the conviction and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted certiorari.&lt;/span&gt; &lt;span data-paragraph-id="1351" data-sentence-id="1941" class="ldml-sentence"&gt;To determine whether the prior transaction evidence was properly admitted, it is necessary to outline the evidence concerning the shooting of &lt;span class="ldml-entity"&gt;Roger Berg&lt;/span&gt;, the evidence concerning the earlier incident during which &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; used a gun, and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s instructions to the jury as to the limited purposes for which evidence of the prior incident could be considered.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2315" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2315" data-sentence-id="2323" class="ldml-sentence"&gt;In late &lt;span class="ldml-entity"&gt;November 1985&lt;/span&gt;, Spoto and his wife were living in a house with &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s friend &lt;span class="ldml-entity"&gt;David Bowman&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2315" data-sentence-id="2430" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;November 27&lt;/span&gt;, Bowman and Spoto went to the Candlelight Inn in Colorado Springs.&lt;/span&gt; &lt;span data-paragraph-id="2315" data-sentence-id="2512" class="ldml-sentence"&gt;Bowman spent some time talking with &lt;span class="ldml-entity"&gt;Melinda Deeringer&lt;/span&gt;, a dancer at the Candlelight with whom &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was infatuated.&lt;/span&gt; &lt;span data-paragraph-id="2315" data-sentence-id="2624" class="ldml-sentence"&gt;The evidence indicated that Deeringer invited him to her apartment to spend the night.&lt;/span&gt; &lt;span data-paragraph-id="2315" data-sentence-id="2711" class="ldml-sentence"&gt;After leaving the Candlelight and dropping Spoto off at home, Bowman went to Deeringer's
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apartment.&lt;/span&gt; &lt;span data-paragraph-id="2315" data-sentence-id="2814" class="ldml-sentence"&gt;Deeringer's roommates admitted him and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; waited for Deeringer to arrive from work.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2898" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2898" data-sentence-id="2906" class="ldml-sentence"&gt;Deeringer left the Candlelight with &lt;span class="ldml-entity"&gt;Roger Berg&lt;/span&gt;, a disc jockey at the establishment.&lt;/span&gt; &lt;span data-paragraph-id="2898" data-sentence-id="2990" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;they&lt;/span&gt; got to her apartment, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; told Bowman that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was spending time with Berg and that Bowman would have to leave.&lt;/span&gt; &lt;span data-paragraph-id="2898" data-sentence-id="3112" class="ldml-sentence"&gt;Bowman was upset.&lt;/span&gt; &lt;span data-paragraph-id="2898" data-sentence-id="3130" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; left Deeringer's apartment, returned to his own residence and told Spoto what had happened.&lt;/span&gt; &lt;span data-paragraph-id="2898" data-sentence-id="3225" class="ldml-sentence"&gt;Spoto testified in his own defense and stated that after Bowman described his experience at Deeringer's, Bowman said that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wanted to go back there to pick up clothes that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had left and to find out where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; stood with Deeringer.&lt;/span&gt; &lt;span data-paragraph-id="2898" data-sentence-id="3457" class="ldml-sentence"&gt;Spoto said &lt;span class="ldml-entity"&gt;he&lt;/span&gt; tried to discourage Bowman from returning but was unsuccessful.&lt;/span&gt; &lt;span data-paragraph-id="2898" data-sentence-id="3535" class="ldml-sentence"&gt;Spoto testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was concerned that Bowman would make a fool of himself and decided to accompany him to help keep the situation under control.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3685" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3685" data-sentence-id="3693" class="ldml-sentence"&gt;Bowman and Spoto then went to Deeringer's apartment in Bowman's vehicle, in which Spoto kept a .357 magnum pistol.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="3808" class="ldml-sentence"&gt;According to Spoto, after &lt;span class="ldml-entity"&gt;they&lt;/span&gt; parked facing Deeringer's apartment, both got out of the truck and Spoto saw Bowman placing the gun in his pants.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="3953" class="ldml-sentence"&gt;Concerned that Bowman was carrying the gun, Spoto persuaded him to turn it over.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="4034" class="ldml-sentence"&gt;Spoto said that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; went to put the gun back in the truck but found it locked, so &lt;span class="ldml-entity"&gt;he&lt;/span&gt; took the gun with him.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="4141" class="ldml-sentence"&gt;Bowman and Spoto were then admitted by one of Deeringer's roommates.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="4210" class="ldml-sentence"&gt;Bowman asked if Berg was still there and whether everyone was asleep.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="4280" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; was told that Berg was present and all were asleep.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="4335" class="ldml-sentence"&gt;Bowman then entered Deeringer's bedroom and found her and Berg sleeping.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="4408" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; kicked the bed and told Berg to get up.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="4451" class="ldml-sentence"&gt;While these events were transpiring, Spoto followed Bowman into the bedroom.&lt;/span&gt; &lt;span data-paragraph-id="3685" data-sentence-id="4528" class="ldml-sentence"&gt;The evidence was in conflict as to what happened next.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4583" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4583" data-sentence-id="4591" class="ldml-sentence"&gt;Deeringer gave the following account.&lt;/span&gt; &lt;span data-paragraph-id="4583" data-sentence-id="4629" class="ldml-sentence"&gt;Spoto directed Berg to get out of bed or &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would kill him.&lt;/span&gt; &lt;span data-paragraph-id="4583" data-sentence-id="4689" class="ldml-sentence"&gt;Berg refused.&lt;/span&gt; &lt;span data-paragraph-id="4583" data-sentence-id="4703" class="ldml-sentence"&gt;Spoto then quickly walked to the foot of the bed on Berg's side and pulled a pistol from inside his jacket.&lt;/span&gt; &lt;span data-paragraph-id="4583" data-sentence-id="4811" class="ldml-sentence"&gt;Berg then reached for his own pistol, which was located at the head of the bed.&lt;/span&gt; &lt;span data-paragraph-id="4583" data-sentence-id="4891" class="ldml-sentence"&gt;Spoto grinned, walked forward on Berg's side of the bed, reached for the hand in which Berg was holding the gun and put his own gun to Berg's neck.&lt;/span&gt; &lt;span data-paragraph-id="4583" data-sentence-id="5039" class="ldml-sentence"&gt;Berg and Spoto struggled.&lt;/span&gt; &lt;span data-paragraph-id="4583" data-sentence-id="5065" class="ldml-sentence"&gt;Deeringer testified that &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;heir hands just went together like this for a few minutes--not a few but a couple of seconds.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;And then all of a sudden, boom.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;[Spoto]&lt;/span&gt; shot Roger &lt;span class="ldml-parenthetical"&gt;[Berg]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5248" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5256" class="ldml-sentence"&gt;Spoto testified to a different version of the events.&lt;/span&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5310" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; stated that Berg started to turn towards the headboard and reach for a gun that was visible there.&lt;/span&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5412" class="ldml-sentence"&gt;Spoto said &lt;span class="ldml-quotation quote"&gt;"David &lt;span class="ldml-parenthetical"&gt;[Bowman]&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'s got a gun."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5457" class="ldml-sentence"&gt;Bowman said &lt;span class="ldml-entity"&gt;he&lt;/span&gt; didn't care.&lt;/span&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5485" class="ldml-sentence"&gt;Spoto then moved to grab Berg's gun, took out his own pistol, and told Berg to &lt;span class="ldml-quotation quote"&gt;"chill out."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5577" class="ldml-sentence"&gt;A struggle began, and Berg's pistol was pointed at Spoto.&lt;/span&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5635" class="ldml-sentence"&gt;Spoto testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; cocked his pistol in an effort to persuade Berg to calm down and told Berg to freeze.&lt;/span&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5745" class="ldml-sentence"&gt;According to Spoto, his gun then fired accidentally in the course of the continuing struggle, killing Berg.&lt;/span&gt; &lt;span data-paragraph-id="5248" data-sentence-id="5853" class="ldml-sentence"&gt;Spoto denied knowing where his gun was positioned when it discharged.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5923" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5923" data-sentence-id="5931" class="ldml-sentence"&gt;The evidence was undisputed that Berg's death was caused by a bullet fired from Spoto's .357 magnum pistol when the muzzle of the gun was in contact with Berg's neck.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6098" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6098" data-sentence-id="6106" class="ldml-sentence"&gt;Bowman and Spoto fled and were thereafter located in New York and came back to Colorado to face charges resulting from Berg's death.&lt;/span&gt; &lt;span data-paragraph-id="6098" data-sentence-id="6239" class="ldml-sentence"&gt;Spoto was tried separately, and Bowman did not testify at Spoto's trial.&lt;/span&gt; &lt;span data-paragraph-id="6098" data-sentence-id="6312" class="ldml-sentence"&gt;Spoto defended on the basis that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; acted in self-defense and that his pistol discharged accidentally while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was attempting to wrest Berg's pistol from him.&lt;/span&gt; &lt;span data-paragraph-id="6098" data-sentence-id="6471" class="ldml-sentence"&gt;In order to rebut the evidence of self-defense &lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; and accident &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; sought to introduce evidence of a prior occasion during which Spoto brandished a pistol.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6637" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6637" data-sentence-id="6645" class="ldml-sentence"&gt;The prior incident occurred a few weeks earlier at Bowman's residence.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="6716" class="ldml-sentence"&gt;At the
&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1317" data-id="pagenumber_6725"&gt;&lt;/span&gt;
time, Bowman lived with Spoto and two other persons, &lt;span class="ldml-entity"&gt;Brett DeWeese&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Heidi Smith&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="6810" class="ldml-sentence"&gt;Bowman and Spoto shared a bedroom, as did DeWeese and Smith.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="6871" class="ldml-sentence"&gt;Spoto and DeWeese ultimately testified about the incident and offered somewhat different accounts.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="6970" class="ldml-sentence"&gt;Spoto testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and Bowman returned home in the early morning hours and discovered the front door open and some things missing from their bedroom.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="7125" class="ldml-sentence"&gt;Spoto and Bowman then entered the DeWeese-Smith bedroom at about 2:30 to 3:00 a.m. while DeWeese and Smith were asleep.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="7245" class="ldml-sentence"&gt;According to Spoto, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and Bowman went into the bedroom to ask DeWeese and Smith if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had stolen the missing items.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="7364" class="ldml-sentence"&gt;DeWeese and Smith denied the theft.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="7400" class="ldml-sentence"&gt;Spoto testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; then pointed an unloaded pistol at DeWeese and asked, &lt;span class="ldml-quotation quote"&gt;"swear to God?"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="7494" class="ldml-sentence"&gt;The incident ended when &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; heard noises from another part of the house and went to investigate.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="7599" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; discovered that a burglar was in the house and was escaping.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="7665" class="ldml-sentence"&gt;In DeWeese's version of the events, Spoto woke him by poking him in the ribs with a gun, then pulled his left arm outward, pressed the gun to his head just below his left ear and asked him if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believed in God.&lt;/span&gt; &lt;span data-paragraph-id="6637" data-sentence-id="7877" class="ldml-sentence"&gt;DeWeese stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was groggy while being awakened.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7933" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7933" data-sentence-id="7941" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; first sought a pretrial ruling on the admissibility of evidence of the DeWeese incident.&lt;/span&gt; &lt;span data-paragraph-id="7933" data-sentence-id="8044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; heard the testimony of Smith and DeWeese and ruled, without elaboration, that the evidence would not be admissible.&lt;/span&gt; &lt;span data-paragraph-id="7933" data-sentence-id="8179" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; stated, however, that it would reconsider the ruling at &lt;span class="ldml-entity"&gt;the conclusion of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;&lt;/span&gt;'s case in chief.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8294" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8294" data-sentence-id="8302" class="ldml-sentence"&gt;After Spoto testified and was cross-examined concerning the shooting, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; again requested permission to introduce evidence of the DeWeese incident.&lt;/span&gt; &lt;span data-paragraph-id="8294" data-sentence-id="8461" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; ruled:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8478" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8478" data-sentence-id="8486" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;: Well, it's &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;'s view&lt;/span&gt; that under the rule there are a limited number of prior transactions that are admissible.&lt;/span&gt; &lt;span data-paragraph-id="8478" data-sentence-id="8616" class="ldml-sentence"&gt;In this particular case and with the way &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; has testified, coupled with the claim of self-defense, and the imprimatur of the gun up against the neck, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have a unique sort of act that fits some of the circumstances contemplated by the rule which would indicate intent, absence of mistake or accident.&lt;/span&gt; &lt;span data-paragraph-id="8478" data-sentence-id="8928" class="ldml-sentence"&gt;And under those circumstances, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; is going to allow that prior transaction to be presented to the jury.&lt;/span&gt; &lt;span data-paragraph-id="8478" data-sentence-id="9039" class="ldml-sentence"&gt;So you may examine him on that particular area.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9087" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9087" data-sentence-id="9095" class="ldml-sentence"&gt;The jury was brought back in and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed them as follows:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9166" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9166" data-sentence-id="9174" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;: If you'll be seated.&lt;/span&gt; &lt;span data-paragraph-id="9166" data-sentence-id="9207" class="ldml-sentence"&gt;Ladies and gentlemen, I have a special instruction for you at this time.&lt;/span&gt; &lt;span data-paragraph-id="9166" data-sentence-id="9280" class="ldml-sentence"&gt;Certain evidence is about to be admitted for a limited purpose.&lt;/span&gt; &lt;span data-paragraph-id="9166" data-sentence-id="9344" class="ldml-sentence"&gt;You are admonished that it is not to be considered for or by you for any purpose other than the limited purpose for which it is admitted.&lt;/span&gt; &lt;span data-paragraph-id="9166" data-sentence-id="9482" class="ldml-sentence"&gt;The limited purpose for which such testimony is being admitted is to show intent, absence of mistake or accident.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9596" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9596" data-sentence-id="9604" class="ldml-sentence"&gt;Anything else, Mr. Aspinwall &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;prosecutor&lt;/span&gt;]&lt;/span&gt;?&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="9651" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9651" data-sentence-id="9659" class="ldml-sentence"&gt;MR. ASPINWALL: Guilty knowledge and motive, Your Honor.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9716" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9716" data-sentence-id="9724" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;: Guilty knowledge and motive.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="9765" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9765" data-sentence-id="9773" class="ldml-sentence"&gt;The district attorney then cross-examined Spoto on the DeWeese incident.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9846" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9846" data-sentence-id="9854" class="ldml-sentence"&gt;In its rebuttal case, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; called DeWeese to testify as to the incident.&lt;/span&gt; &lt;span data-paragraph-id="9846" data-sentence-id="9938" class="ldml-sentence"&gt;Before hearing testimony, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed the jury as follows:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10006" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10006" data-sentence-id="10014" class="ldml-sentence"&gt;Ladies and gentlemen, certain evidence is about to be admitted for a limited purpose.&lt;/span&gt; &lt;span data-paragraph-id="10006" data-sentence-id="10100" class="ldml-sentence"&gt;As I instructed you earlier, this evidence is admitted, but it is admitted only for the limited purpose.&lt;/span&gt; &lt;span data-paragraph-id="10006" data-sentence-id="10205" class="ldml-sentence"&gt;The limited purpose for which such testimony is being introduced is to show guilty knowledge, intent, absence of mistake or accident.&lt;/span&gt; &lt;span data-paragraph-id="10006" data-sentence-id="10339" class="ldml-sentence"&gt;It's to be only considered for such purpose and not for any other purpose.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="10414" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10414" data-sentence-id="10422" class="ldml-sentence"&gt;MR. ASPINWALL: Your Honor, I believe motive also.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10473" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10473" data-sentence-id="10481" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;: Motive.&lt;/span&gt; &lt;span data-paragraph-id="10473" data-sentence-id="10501" class="ldml-sentence"&gt;All right.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="10512" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10512" data-sentence-id="10520" class="ldml-sentence"&gt;After DeWeese testified, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; reminded the jury of the earlier limiting instruction.&lt;/span&gt; &lt;span data-paragraph-id="10512" data-sentence-id="10610" class="ldml-sentence"&gt;All of the evidence concerning the DeWeese transaction was presented over the objections of the defense.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1318" data-id="pagenumber_10715"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10715" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10715" data-sentence-id="10723" class="ldml-sentence"&gt;In closing argument &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; mentioned the DeWeese incident only once, when describing Bowman's actions in going to his apartment and returning to Deeringer's in the company of Spoto:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10913" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10913" data-sentence-id="10921" class="ldml-sentence"&gt;Is &lt;span class="ldml-entity"&gt;David Bowman&lt;/span&gt; upset?&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="10944" class="ldml-sentence"&gt;Yes.&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="10949" class="ldml-sentence"&gt;Does &lt;span class="ldml-entity"&gt;David Bowman&lt;/span&gt; go in there and beat up Roger?&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="10998" class="ldml-sentence"&gt;No.&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="11002" class="ldml-sentence"&gt;What does &lt;span class="ldml-entity"&gt;he&lt;/span&gt; do?&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="11019" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; drives home.&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="11035" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; goes home and gets his big buddy.&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="11072" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; goes home and gets Vince.&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="11101" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; goes home and gets Vince with the gun.&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="11143" class="ldml-sentence"&gt;You don't know what's said back there.&lt;/span&gt; &lt;span data-paragraph-id="10913" data-sentence-id="11182" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; goes home and gets Vince with the gun, the same gun that &lt;span class="ldml-entity"&gt;this defendant&lt;/span&gt; put to the head of &lt;span class="ldml-entity"&gt;Brett DeWeese&lt;/span&gt;, put to the neck under the ear of &lt;span class="ldml-entity"&gt;Brett DeWeese&lt;/span&gt; just a couple of weeks earlier.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="2" data-ordinal_end="2" data-value="II." data-specifier="II" data-parsed="true" data-format="upper_case_roman_numeral" data-content-heading-label="II.
" id="heading_11370" data-id="heading_11370"&gt;&lt;span data-paragraph-id="11370" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11370" data-sentence-id="11370" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11374" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11374" data-sentence-id="11382" class="ldml-sentence"&gt;The sole issue for decision is the admissibility of the evidence of the DeWeese incident.&lt;/span&gt; &lt;span data-paragraph-id="11374" data-sentence-id="11472" class="ldml-sentence"&gt;The framework for resolution of this issue is provided by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11472"&gt;&lt;span class="ldml-cite"&gt;Article IV of the Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, entitled Relevancy and Its Limits.&lt;/span&gt; &lt;span data-paragraph-id="11374" data-sentence-id="11611" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887890202" data-vids="887890202" class="ldml-reference" data-prop-ids="sentence_11472"&gt;&lt;span class="ldml-refname"&gt;People v. Carlson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;712 P.2d 1018, 1021-22&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11670" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11670" data-sentence-id="11678" class="ldml-sentence"&gt;Unless otherwise provided by &lt;span class="ldml-entity"&gt;constitution&lt;/span&gt;, &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; or rule, all relevant evidence is admissible.&lt;/span&gt; &lt;span data-paragraph-id="11670" data-sentence-id="11775" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11678"&gt;&lt;span class="ldml-cite"&gt;CRE 402&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11670" data-sentence-id="11784" class="ldml-sentence"&gt;Relevant evidence &lt;span class="ldml-quotation quote"&gt;"means evidence having any tendency to make the existence of any fact that is of consequence to the determination of the action more probable or less probable than it would be without the evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11670" data-sentence-id="12001" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11784"&gt;&lt;span class="ldml-cite"&gt;CRE 401&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11670" data-sentence-id="12010" class="ldml-sentence"&gt;Even relevant evidence may be excluded, however, &lt;span class="ldml-quotation quote"&gt;"if its probative value is substantially outweighed by the danger of unfair prejudice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11670" data-sentence-id="12147" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12010"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11670" data-sentence-id="12156" class="ldml-sentence"&gt;A further limitation on admissibility of relevant evidence of particular importance to &lt;span class="ldml-entity"&gt;the present case&lt;/span&gt; is found in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which provides:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12300" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12300" data-sentence-id="12300" class="ldml-sentence"&gt;Evidence of other crimes, wrongs, or acts is not admissible to prove the character of a person in order to show that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; acted in conformity therewith.&lt;/span&gt; &lt;span data-paragraph-id="12300" data-sentence-id="12451" class="ldml-sentence"&gt;It may, however, be admissible for other purposes, such as proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake or accident.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12623" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12623" data-sentence-id="12631" class="ldml-sentence"&gt;In other words, evidence of other crimes, wrongs or acts is inadmissible if the logical relevance of the proffered evidence depends upon an inference that a person who has engaged in such misconduct has a bad character and the further inference that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; therefore engaged in the wrongful conduct at issue.&lt;/span&gt; &lt;span data-paragraph-id="12623" data-sentence-id="12947" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12631"&gt;&lt;span class="ldml-refname"&gt;E. Imwinkelreid, Uncharged Misconduct Evidence&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 2.18&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(hereinafter Imwinkelreid)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13036" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13036" data-sentence-id="13044" class="ldml-sentence"&gt;Read together, these rules require a four-part analysis to determine whether evidence of prior acts is admissible.&lt;/span&gt; &lt;span data-paragraph-id="13036" data-sentence-id="13159" class="ldml-sentence"&gt;First, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must ask whether the proffered evidence relates to a material fact, i.e., a fact &lt;span class="ldml-quotation quote"&gt;"that is of consequence to the determination of the action."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13036" data-sentence-id="13311" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13159"&gt;&lt;span class="ldml-cite"&gt;CRE 401&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887890202" data-vids="887890202" class="ldml-reference" data-prop-ids="sentence_13159"&gt;&lt;span class="ldml-refname"&gt;Carlson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;712 P.2d at 1021&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13036" data-sentence-id="13347" class="ldml-sentence"&gt;If it does, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; proceed to the second question: is the evidence logically relevant, i.e., does it have &lt;span class="ldml-quotation quote"&gt;"any tendency to make the existence of &lt;span class="ldml-parenthetical"&gt;[the material fact]&lt;/span&gt; more probable or less probable than it would be without the evidence?"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13036" data-sentence-id="13580" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13347"&gt;&lt;span class="ldml-cite"&gt;CRE 401&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887890202" data-vids="887890202" class="ldml-reference" data-prop-ids="sentence_13347"&gt;&lt;span class="ldml-refname"&gt;Carlson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;712 P.2d at 1021&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13036" data-sentence-id="13616" class="ldml-sentence"&gt;If the evidence is logically relevant, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; then must determine whether the logical relevance is independent of the intermediate inference, prohibited by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; has a bad character, which would then be employed to suggest the probability that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; committed the crime charged because of the likelihood that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; acted in conformity with his bad character.&lt;/span&gt; &lt;span data-paragraph-id="13036" data-sentence-id="14001" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13616"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13616"&gt;&lt;span class="ldml-refname"&gt;Imwinkelreid&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 2.18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13036" data-sentence-id="14038" class="ldml-sentence"&gt;Finally, if the proffered evidence survives the first three parts of the analysis, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must assess whether the probative value of the evidence is substantially outweighed by the danger of unfair prejudice.&lt;/span&gt; &lt;span data-paragraph-id="13036" data-sentence-id="14243" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14038"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887890202" data-vids="887890202" class="ldml-reference" data-prop-ids="sentence_14038"&gt;&lt;span class="ldml-refname"&gt;Carlson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;712 P.2d at 1022&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14279" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14279" data-sentence-id="14287" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;the present case&lt;/span&gt;, the central issue is Spoto's intent as it bears on the issues of premeditation, self-defense and accident.&lt;/span&gt; &lt;span data-paragraph-id="14279" data-sentence-id="14415" class="ldml-sentence"&gt;His intent is undeniably a material fact and the evidence of the DeWeese incident was offered as relating to that material fact.&lt;/span&gt; &lt;span data-paragraph-id="14279" data-sentence-id="14544" class="ldml-sentence"&gt;The evidence therefore meets the first requirement for admissibility.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14614" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14614" data-sentence-id="14622" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; next must determine whether the DeWeese evidence is logically relevant,
&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1319" data-id="pagenumber_14699"&gt;&lt;/span&gt;
that is, whether it has any tendency to make the existence of criminal intent more or less probable.&lt;/span&gt; &lt;span data-paragraph-id="14614" data-sentence-id="14801" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; do not dispute that Spoto intentionally brought the gun into Deeringer's bedroom and intentionally pulled out the gun.&lt;/span&gt; &lt;span data-paragraph-id="14614" data-sentence-id="14932" class="ldml-sentence"&gt;At issue is &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; whether Spoto entered the bedroom with a premeditated plan to kill Berg, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; whether Spoto pulled out the gun in self-defense, and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; whether Spoto intentionally pulled the trigger.&lt;/span&gt; &lt;span data-paragraph-id="14614" data-sentence-id="15131" class="ldml-sentence"&gt;Evidence of the DeWeese incident is logically relevant to the material issue of intent.&lt;/span&gt; &lt;span data-paragraph-id="14614" data-sentence-id="15219" class="ldml-sentence"&gt;At minimum, the incident suggests that Spoto is the type of person who would pull a gun on someone when it is not necessary for self-defense.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15361" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15361" data-sentence-id="15369" class="ldml-sentence"&gt;The more difficult question is whether the DeWeese incident is logically relevant independent of the inference, which is prohibited by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that it demonstrates Spoto's character as a person who draws guns on &lt;span class="ldml-entity"&gt;people&lt;/span&gt; intentionally and that such character in turn suggests that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; intentionally shot Berg.&lt;/span&gt; &lt;span data-paragraph-id="15361" data-sentence-id="15680" class="ldml-sentence"&gt;To be admissible, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; must articulate a precise evidential hypothesis by which a material fact can be permissibly inferred from the prior act independent of the use forbidden by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15361" data-sentence-id="15882" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890737918" data-vids="890737918" class="ldml-reference" data-prop-ids="sentence_15680"&gt;&lt;span class="ldml-refname"&gt;United States v. Hogue&lt;/span&gt;, &lt;span class="ldml-cite"&gt;827 F.2d 660, 662&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15945" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15945" data-sentence-id="15953" class="ldml-sentence"&gt;Spoto testified at trial that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and Berg struggled and the gun accidentally went off.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="16040" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; argues that the DeWeese incident has some tendency to support &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s theory that Spoto intentionally put the gun to Berg's neck and intentionally pulled the trigger.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="16233" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; suggests two ways in which the incident supports its theory independent of the inferences that Spoto has a bad character and acted in conformity with that character in shooting Berg.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="16432" class="ldml-sentence"&gt;First, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; contends that the DeWeese incident demonstrates Spoto's ability to handle his gun and use a &lt;span class="ldml-quotation quote"&gt;"martial maneuver"&lt;/span&gt; to put the gun against his victim's neck before firing.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="16622" class="ldml-sentence"&gt;Evidence of the DeWeese incident, therefore, makes the defense of accidental firing appear less plausible.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="16729" class="ldml-sentence"&gt;The DeWeese incident, however, does not demonstrate any ability on Spoto's part to perform complex martial arts maneuvers.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="16852" class="ldml-sentence"&gt;It shows only that Spoto is capable of putting a gun against the head of a man who is just awakening.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="16954" class="ldml-sentence"&gt;Nor is there any suggestion in the evidence that Spoto employed a martial arts maneuver in his struggle with Berg.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="17069" class="ldml-sentence"&gt;Furthermore, the DeWeese incident does not suggest that when Spoto draws a gun &lt;span class="ldml-entity"&gt;he&lt;/span&gt; intends to use it.&lt;/span&gt; &lt;span data-paragraph-id="15945" data-sentence-id="17170" class="ldml-sentence"&gt;To the contrary, Spoto pointed an unloaded gun at DeWeese and did not pull the trigger.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17258" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17258" data-sentence-id="17266" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt;'s second argument that the DeWeese incident has logical relevance independent of the purpose forbidden by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is that the DeWeese incident demonstrates that Spoto's claim that the shooting of Berg was an accident is unlikely.&lt;/span&gt; &lt;span data-paragraph-id="17258" data-sentence-id="17515" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; relies on the doctrine of chances.&lt;/span&gt; &lt;span data-paragraph-id="17258" data-sentence-id="17566" class="ldml-sentence"&gt;An example illustrates the operation of this doctrine.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17621" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17621" data-sentence-id="17621" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[S]&lt;/span&gt;uppose that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is charged with murdering his wife.&lt;/span&gt; &lt;span data-paragraph-id="17621" data-sentence-id="17686" class="ldml-sentence"&gt;The wife was found dead in her bath tub.&lt;/span&gt; &lt;span data-paragraph-id="17621" data-sentence-id="17727" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; claims that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; accidentally drowned while bathing.&lt;/span&gt; &lt;span data-paragraph-id="17621" data-sentence-id="17793" class="ldml-sentence"&gt;In this situation, there is both English and American &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; admitting evidence of similar deaths of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s previous wives.&lt;/span&gt; &lt;span data-paragraph-id="17621" data-sentence-id="17928" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The courts&lt;/span&gt; reason that the credibility of the accident theory decreases as the number of similar incidents increases.&lt;/span&gt; &lt;span data-paragraph-id="17621" data-sentence-id="18046" class="ldml-sentence"&gt;The intermediate inference ... is objective or statistical unlikelihood under the doctrine of chances rather than &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s subjective character.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18198" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18198" data-sentence-id="18206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Imwinkelreid&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§ 4:01&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="18228" class="ldml-sentence"&gt;Under this theory, if Spoto had killed several &lt;span class="ldml-entity"&gt;people&lt;/span&gt; by shooting them in the neck and claimed in each case that it was an accident, evidence of those prior acts would tend to show the unlikelihood of another similar accident.&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="18455" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, however, application of the doctrine of chances is inappropriate for two reasons.&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="18551" class="ldml-sentence"&gt;First, the DeWeese incident is not similar enough to &lt;span class="ldml-entity"&gt;the current case&lt;/span&gt; to make the objective statistical inference.&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="18666" class="ldml-sentence"&gt;DeWeese was not shot &lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; and Spoto did not claim that
&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1320" data-id="pagenumber_18719"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;he&lt;/span&gt; accidentally placed his gun to DeWeese's head.&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="18770" class="ldml-sentence"&gt;Although, according to DeWeese, Spoto pulled DeWeese's left arm while putting a gun to his head, DeWeese was in the process of being awakened rather than engaged in a struggle with Spoto at the time.&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="18970" class="ldml-sentence"&gt;Dissimilar prior acts are not probative under the doctrine of chances.&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="19041" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Since it is the improbability of a like result being repeated by mere chance that carries probative weight, the essence of this probative effect is the likeness of the instance."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="19221" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19041"&gt;&lt;span class="ldml-refname"&gt;A.J. Wigmore, Evidence&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 302&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(hereinafter Wigmore)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18198" data-sentence-id="19280" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; correctly notes that there is generally no similarity of conduct requirement concerning evidence of other crimes, wrongs or acts offered for permissible purposes such as proof of intent, preparation, plan or accident under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890695517" data-vids="890695517" class="ldml-reference" data-prop-ids="sentence_19280"&gt;&lt;span class="ldml-refname"&gt;United States v. Longoria&lt;/span&gt;, &lt;span class="ldml-cite"&gt;624 F.2d 66, 69&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;9th Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:449us858,101sct158,66led2d731980" data-prop-ids="sentence_19280"&gt;&lt;span class="ldml-cite"&gt;449 U.S. 858&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 158&lt;/span&gt;, &lt;span class="ldml-cite"&gt;66 L.Ed.2d 73&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, similarity is crucial when the theory of logical relevance is the doctrine of chances.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19751" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19751" data-sentence-id="19759" class="ldml-sentence"&gt;Second, there is only one prior incident in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19751" data-sentence-id="19814" class="ldml-sentence"&gt;The greater the number of instances, the less likely it is that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are accidental.&lt;/span&gt; &lt;span data-paragraph-id="19751" data-sentence-id="19899" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19814"&gt;&lt;span class="ldml-refname"&gt;Wigmore&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 302&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19751" data-sentence-id="19914" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; points to only one prior instance, the evidence for this reason alone has little probative value.&lt;/span&gt; &lt;span data-paragraph-id="19751" data-sentence-id="20036" class="ldml-sentence"&gt;The small probative value does not by itself make the evidence inadmissible, but when combined with the lack of similarity of the two incidents &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the DeWeese incident cannot qualify for admissibility as logically relevant, independent of its relevance for the forbidden purpose of showing bad character, under the doctrine of chances.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20386" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20386" data-sentence-id="20394" class="ldml-sentence"&gt;Finally, even if the DeWeese incident could be considered admissible for some narrow purpose, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must consider whether whatever probative value, if any, survives the limitation of our previous analysis is substantially outweighed by the danger of unfair prejudice under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20386" data-sentence-id="20673" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886908089" data-vids="886908089" class="ldml-reference" data-prop-ids="sentence_20673"&gt;&lt;span class="ldml-refname"&gt;Stull v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;140 Colo. 278&lt;/span&gt;, &lt;span class="ldml-cite"&gt;344 P.2d 455&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1959&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; recognized the potential for prejudice resulting from prior bad act evidence.&lt;/span&gt; &lt;span data-paragraph-id="20386" data-sentence-id="20810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; wrote:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20820" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20820" data-sentence-id="20828" class="ldml-sentence"&gt;Bearing in mind that evidence of similar acts has inhering in it damning innuendo likely to beget prejudice in the minds of jurors, and that such evidence tends to inject collateral issues into a criminal case which are not unlikely to confuse and lead astray the jury, it becomes exigent that &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; observe the fine balance in regard to such evidence that must exist between the necessity of proof on the part of &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; and the danger of unfair prejudice to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21311" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21311" data-sentence-id="21319" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886908089" data-vids="886908089" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 284&lt;/span&gt;, &lt;span class="ldml-cite"&gt;344 P.2d at 458&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21348" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21348" data-sentence-id="21356" class="ldml-sentence"&gt;The facts in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; were disputed.&lt;/span&gt; &lt;span data-paragraph-id="21348" data-sentence-id="21394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; told a seemingly plausible story.&lt;/span&gt; &lt;span data-paragraph-id="21348" data-sentence-id="21442" class="ldml-sentence"&gt;Whether the jury believed Spoto's account of the incident was critical to the outcome of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21348" data-sentence-id="21541" class="ldml-sentence"&gt;When the jury heard a housemate testify that Spoto had previously drawn a gun on him, used it to awaken him by poking the gun in his ribs, and asked him, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt;o you believe in God?,"&lt;/span&gt; the jury was presented with a picture of Spoto as the kind of person who is prone to point guns and make threats.&lt;/span&gt; &lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="21348" data-sentence-id="21838" class="ldml-sentence"&gt;It cast doubt on Spoto's presentation of himself as a person who accompanied a distraught friend to help prevent the friend from doing something foolish and found himself unable to control a dispute between the friend and another man.&lt;/span&gt; &lt;span data-paragraph-id="21348" data-sentence-id="22073" class="ldml-sentence"&gt;In sum, it presented the grave danger that it would be employed by the jury to infer bad character and action taken in conformity with
&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1321" data-id="pagenumber_22210"&gt;&lt;/span&gt;
bad character.&lt;/span&gt; &lt;span data-paragraph-id="21348" data-sentence-id="22226" class="ldml-sentence"&gt;The potential for prejudice in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; was overwhelming.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22285" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22285" data-sentence-id="22293" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; did not reduce the probability of prejudice by carefully instructing the jury.&lt;/span&gt; &lt;span data-paragraph-id="22285" data-sentence-id="22388" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed the jury generally before Spoto's own testimony about the incident was received that &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"You are admonished that &lt;span class="ldml-parenthetical"&gt;[this evidence]&lt;/span&gt; is not to be considered for or by you for any purpose other than the limited purpose for which it is admitted.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The limited purpose for which such testimony is being admitted is to show intent, absence of mistake or accident....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Guilty knowledge and motive."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22285" data-sentence-id="22802" class="ldml-sentence"&gt;A similar instruction preceded DeWeese's testimony.&lt;/span&gt; &lt;span data-paragraph-id="22285" data-sentence-id="22854" class="ldml-sentence"&gt;The evidence of the DeWeese incident had no relevance to guilty knowledge or motive.&lt;/span&gt; &lt;span data-paragraph-id="22285" data-sentence-id="22939" class="ldml-sentence"&gt;In the absence of a focus on a particular purpose for which the testimony might arguably be relevant, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;'s instruction did nothing to alleviate the risk that the jury would use the testimony for the prohibited purpose of inferring that Spoto has a bad character and acted in conformity therewith in shooting Berg.&lt;/span&gt; &lt;span data-paragraph-id="22285" data-sentence-id="23260" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; also brought the incident to the jury's attention, if only briefly, in closing argument in a way that suggested use of the evidence of the DeWeese incident to prove that Spoto was the kind of person who would commit &lt;span class="ldml-entity"&gt;the acts&lt;/span&gt; charged.&lt;/span&gt; &lt;span data-paragraph-id="22285" data-sentence-id="23510" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude, therefore, that the unfair prejudicial effect of this evidence substantially outweighed any probative value it may have had for purposes permitted by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23685" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23685" data-sentence-id="23693" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23754" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23754" data-sentence-id="23762" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;VOLLACK&lt;/span&gt;, J., dissents&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;ROVIRA&lt;/span&gt;, C.J., and &lt;span class="ldml-entity"&gt;KIRSHBAUM&lt;/span&gt;, J.&lt;/span&gt;, join in the dissent.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="23843" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (VOLLACK)"&gt;&lt;span data-paragraph-id="23843" data-sentence-id="23851" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;VOLLACK&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;dissenting&lt;/span&gt;&lt;/span&gt;:&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23879" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23879" data-sentence-id="23887" class="ldml-sentence"&gt;I respectfully dissent from the majority's holding that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in admitting evidence of a prior incident involving &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s use of a handgun.&lt;/span&gt; &lt;span data-paragraph-id="23879" data-sentence-id="24054" class="ldml-sentence"&gt;I would reverse the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; and hold that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not abuse its discretion in admitting the prior-incident evidence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24211" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24211" data-sentence-id="24219" class="ldml-sentence"&gt;As the majority notes, the framework for resolving the issue of whether evidence of prior incidents is admissible is provided by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24219"&gt;&lt;span class="ldml-cite"&gt;article IV of the Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24211" data-sentence-id="24394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24219"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1318&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24211" data-sentence-id="24412" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Unless otherwise provided by &lt;span class="ldml-entity"&gt;constitution&lt;/span&gt;, &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; or rule, all relevant evidence is admissible."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24211" data-sentence-id="24511" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24412"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1318&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24412"&gt;&lt;span class="ldml-cite"&gt;CRE 402&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24211" data-sentence-id="24538" class="ldml-sentence"&gt;Relevant evidence may be excluded &lt;span class="ldml-quotation quote"&gt;"if its probative value is substantially outweighed by the danger of unfair prejudice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24211" data-sentence-id="24660" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24538"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24211" data-sentence-id="24669" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24690" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24690" data-sentence-id="24698" class="ldml-sentence"&gt;Evidence of other crimes, wrongs, or acts is not admissible to prove the character of a person in order to show that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; acted in conformity therewith.&lt;/span&gt; &lt;span data-paragraph-id="24690" data-sentence-id="24849" class="ldml-sentence"&gt;It may, however, be admissible for other purposes, such as proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake or accident.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25021" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25021" data-sentence-id="25029" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The trial judge must weigh ... the bearing of the other transaction on the issues presented at the trial of the offense charged, and the degree to which the jury would be prejudiced by the other transaction.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Because of these varying considerations, the trial judge is allowed substantial discretion when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; decides regarding the admissibility of such evidence."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25021" data-sentence-id="25392" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894461291" data-vids="894461291" class="ldml-reference" data-prop-ids="sentence_25029"&gt;&lt;span class="ldml-refname"&gt;People v. Ihme&lt;/span&gt;, &lt;span class="ldml-cite"&gt;187 Colo. 48, 51&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 P.2d 380, 381-82&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25455" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25455" data-sentence-id="25463" class="ldml-sentence"&gt;Prior to the trial &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; filed a &lt;span class="ldml-entity"&gt;motion requesting that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; hold&lt;/span&gt; a pretrial hearing to determine the admissibility of evidence of a prior incident involving &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; and his former housemate &lt;span class="ldml-entity"&gt;Brett DeWeese&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25455" data-sentence-id="25688" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; agreed that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; would not refer to the prior incident in its case in chief.&lt;/span&gt; &lt;span data-paragraph-id="25455" data-sentence-id="25788" class="ldml-sentence"&gt;During &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s case in chief, &lt;span class="ldml-entity"&gt;El Paso County Coroner&lt;/span&gt; &lt;span class="ldml-entity"&gt;David Bowerman&lt;/span&gt; testified that the bullet that killed &lt;span class="ldml-entity"&gt;John Berg&lt;/span&gt; entered the back of Berg's neck to the right of the nape of his neck, traversed through his neck from back to front and right to left in a horizontal plane, and exited on the left side of Berg's neck at the level of the shoulder.&lt;/span&gt; &lt;span data-paragraph-id="25455" data-sentence-id="26144" class="ldml-sentence"&gt;The coroner also testified that when the bullet was fired the muzzle of the gun was in contact with the surface of Berg's skin.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1322" data-id="pagenumber_26272"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26272" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26272" data-sentence-id="26280" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Melinda Deeringer&lt;/span&gt; gave her account of Berg's death during &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s case in chief.&lt;/span&gt; &lt;span data-paragraph-id="26272" data-sentence-id="26371" class="ldml-sentence"&gt;Deeringer testified that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; entered the room and told Berg to get out of bed or &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was going to kill him.&lt;/span&gt; &lt;span data-paragraph-id="26272" data-sentence-id="26488" class="ldml-sentence"&gt;Deeringer testified that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; then quickly walked around to the foot of Berg's side of the bed and pulled a gun from his jacket.&lt;/span&gt; &lt;span data-paragraph-id="26272" data-sentence-id="26626" class="ldml-sentence"&gt;Berg then reached for his gun, which was on the headboard of the bed.&lt;/span&gt; &lt;span data-paragraph-id="26272" data-sentence-id="26696" class="ldml-sentence"&gt;Deeringer testified that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; then reached for the hand in which Berg held his gun and put his gun in Berg's neck.&lt;/span&gt; &lt;span data-paragraph-id="26272" data-sentence-id="26820" class="ldml-sentence"&gt;According to Deeringer, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s and Berg's hands &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"just went together like this for a few minutes--not a few but a couple of seconds.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;And then all of a sudden boom.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; shot Roger &lt;span class="ldml-parenthetical"&gt;[Berg]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27015" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27015" data-sentence-id="27023" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt;'s account of Berg's death contradicted Deeringer's testimony.&lt;/span&gt; &lt;span data-paragraph-id="27015" data-sentence-id="27099" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; testified that when &lt;span class="ldml-entity"&gt;David Bowman&lt;/span&gt; kicked the bed in which Berg and &lt;span class="ldml-entity"&gt;Melinda Deeringer&lt;/span&gt; were sleeping, and told Berg to get up, &lt;sup class="ldml-superscript"&gt;1&lt;/sup&gt; Berg reached up and grabbed a gun from the headboard of the bed.&lt;/span&gt; &lt;span data-paragraph-id="27015" data-sentence-id="27304" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, then grabbed Berg's gun, drew his own gun, and told Berg to &lt;span class="ldml-quotation quote"&gt;"chill out."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27015" data-sentence-id="27396" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; then cocked his gun and told Berg to freeze.&lt;/span&gt; &lt;span data-paragraph-id="27015" data-sentence-id="27444" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; then testified that Berg &lt;span class="ldml-quotation quote"&gt;"was pulling; I was kind of ducking, squatting at the same time--and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was pulling and turning and my gun fired."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27599" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27599" data-sentence-id="27607" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had cross-examined &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; on other subjects, the district attorney asked &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; for permission to cross-examine &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; about the incident involving &lt;span class="ldml-entity"&gt;Brett DeWeese&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27599" data-sentence-id="27796" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; held a hearing out of the jury's presence, and ruled that evidence about the DeWeese incident was admissible.&lt;/span&gt; &lt;span data-paragraph-id="27599" data-sentence-id="27916" class="ldml-sentence"&gt;When the jury returned to the courtroom, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed the members of the jury that the evidence &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were about to hear was being admitted for the limited purpose of showing intent, absence of mistake or accident, and that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; should not consider the evidence for any other purpose.&lt;/span&gt; &lt;span data-paragraph-id="27599" data-sentence-id="28208" class="ldml-sentence"&gt;The district attorney then cross-examined &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; about the DeWeese incident in an attempt to discredit &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s version of Berg's death.&lt;/span&gt; &lt;span data-paragraph-id="27599" data-sentence-id="28359" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; testified on cross-examination that after coming home early one morning &lt;span class="ldml-entity"&gt;he&lt;/span&gt; discovered that someone had been in his bedroom.&lt;/span&gt; &lt;span data-paragraph-id="27599" data-sentence-id="28497" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; admitted that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; then got his gun and went to DeWeese's bedroom.&lt;/span&gt; &lt;span data-paragraph-id="27599" data-sentence-id="28576" class="ldml-sentence"&gt;The district attorney asked &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had awakened DeWeese by poking him in the ribs with his gun, and if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had pulled DeWeese's arm over and put the gun up against DeWeese's neck.&lt;/span&gt; &lt;span data-paragraph-id="27599" data-sentence-id="28768" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; answered that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had not.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28808" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28808" data-sentence-id="28816" class="ldml-sentence"&gt;In rebuttal, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; called &lt;span class="ldml-entity"&gt;Brett DeWeese&lt;/span&gt;, who testified about the prior incident with &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28808" data-sentence-id="28926" class="ldml-sentence"&gt;DeWeese testified that when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; were living in the same house, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; entered his room at about 3:00 one morning and woke him up by poking him in the ribs with his gun.&lt;/span&gt; &lt;span data-paragraph-id="28808" data-sentence-id="29119" class="ldml-sentence"&gt;DeWeese testified that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; then pulled his left arm outward, put the gun to his head just below his left ear, and asked him if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believed in God.&lt;/span&gt; &lt;span data-paragraph-id="28808" data-sentence-id="29276" class="ldml-sentence"&gt;After DeWeese's rebuttal testimony, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; again instructed the jury that the evidence it had just heard was being admitted for the limited purposes previously indicated by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29472" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29472" data-sentence-id="29480" class="ldml-sentence"&gt;The evidence of the DeWeese incident was logically relevant, independent of the inference prohibited by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; acted in conformity with his bad character.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="29658" class="ldml-sentence"&gt;The DeWeese incident was admissible to show that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; drew his gun first, that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did not accidentally place this gun to Berg's neck, and that the gun did not accidentally discharge.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="29861" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Courts&lt;/span&gt; have admitted evidence of similar acts, as rebuttal to the witness's testimony or impeachment of his credibility, to show that the present act was not an accident.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="30032" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885993342" data-vids="885993342" class="ldml-reference" data-prop-ids="sentence_29861"&gt;&lt;span class="ldml-refname"&gt;Young v. Rabideau&lt;/span&gt;, &lt;span class="ldml-cite"&gt;821 F.2d 373, 380&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;7th Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:484us915,108sct263,98led2d2211987" data-prop-ids="sentence_29861"&gt;&lt;span class="ldml-cite"&gt;484 U.S. 915&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. 263&lt;/span&gt;, &lt;span class="ldml-cite"&gt;98 L.Ed.2d 221&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="30147" class="ldml-sentence"&gt;In &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888997421" data-vids="888997421" class="ldml-reference" data-prop-ids="sentence_30147"&gt;&lt;span class="ldml-refname"&gt;United States v. Hillsberg&lt;/span&gt;, &lt;span class="ldml-cite"&gt;812 F.2d 328, 334&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;7th Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:481us1041,107sct1981,95led2d8211987" data-prop-ids="sentence_30147"&gt;&lt;span class="ldml-cite"&gt;481 U.S. 1041&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 S.Ct. 1981&lt;/span&gt;, &lt;span class="ldml-cite"&gt;95 L.Ed.2d 821&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, the Seventh Circuit held that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; properly admitted evidence that earlier in
&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1323" data-id="pagenumber_30367"&gt;&lt;/span&gt;
the day on which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; shot the victim, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had taken his gun out and fired it into the air.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="30468" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; held that the evidence that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had earlier fired his gun was admissible to rebut &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s claim that his gun discharged accidentally when the victim was shot.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="30655" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888997421" data-vids="888997421" class="ldml-reference" data-prop-ids="sentence_30468"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="30659" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888997421" data-vids="888997421" class="ldml-reference" data-prop-ids="sentence_30659"&gt;&lt;span class="ldml-refname"&gt;Hillsberg&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is not distinguishable on the ground that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did not fire his gun when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; threatened DeWeese.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="30774" class="ldml-sentence"&gt;Evidence of the DeWeese incident was properly admitted to show that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was proficient in drawing his handgun, pulling an individual's arm away from his body, and placing the gun on the individual's neck.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="30989" class="ldml-sentence"&gt;The DeWeese evidence was properly admitted to demonstrate that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s actions caused Berg's death and were not accidental.&lt;/span&gt; &lt;span data-paragraph-id="29472" data-sentence-id="31121" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888997421" data-vids="888997421" class="ldml-reference" data-prop-ids="sentence_30989"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885993342" data-vids="885993342" class="ldml-reference" data-prop-ids="embeddedsentence_31162,sentence_30989"&gt;&lt;span class="ldml-refname"&gt;Rabideau&lt;/span&gt;, &lt;span class="ldml-cite"&gt;821 F.2d at 380&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;evidence of an inmate's prior misconduct admissible to rebut inmate's assertion that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; grabbed a chain out of a prison guard's hand accidentally, or by reflex&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888684944" data-vids="888684944" class="ldml-reference" data-prop-ids="embeddedsentence_31379,sentence_30989"&gt;&lt;span class="ldml-refname"&gt;Adkinson v. State&lt;/span&gt;, &lt;span class="ldml-cite"&gt;611 P.2d 528, 532 &amp; n. 11&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Alaska&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;evidence that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; had on previous occasions pointed his shotgun at trespassers was admissible to prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did not accidentally point his shotgun at the victim&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:449us876,101sct219,66led2d971980" data-prop-ids="sentence_30989"&gt;&lt;span class="ldml-cite"&gt;449 U.S. 876&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 219&lt;/span&gt;, &lt;span class="ldml-cite"&gt;66 L.Ed.2d 97&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31627" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31627" data-sentence-id="31635" class="ldml-sentence"&gt;Evidence of the DeWeese incident was also admissible to show that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; acted intentionally in entering the room with a gun, drawing his gun first, and forcibly placing it up against Berg's neck.&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="31839" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;2&lt;/sup&gt; Evidence of other acts is admissible to establish specific intent when intent is an essential element of the crime charged and when the other requirements of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31839"&gt;&lt;span class="ldml-cite"&gt;Rules 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31839"&gt;&lt;span class="ldml-cite"&gt;403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; are satisfied.&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="32036" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885993342" data-vids="885993342" class="ldml-reference" data-prop-ids="sentence_31839"&gt;&lt;span class="ldml-refname"&gt;Rabideau&lt;/span&gt;, &lt;span class="ldml-cite"&gt;821 F.2d at 379&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="32063" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"The &lt;span class="ldml-quotation quote"&gt;'intent'&lt;/span&gt; exception to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32063"&gt;&lt;span class="ldml-cite"&gt;Rule 404&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; may also be used, in a broader sense, to admit prior crimes &lt;span class="ldml-quotation quote"&gt;'because the repetition of the crime is itself circumstantial proof of intent, not direct proof of a propensity to commit crime.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="32294" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885993342" data-vids="885993342" class="ldml-reference" data-prop-ids="sentence_32063"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895384047" data-vids="895384047" class="ldml-reference" data-prop-ids="sentence_32063"&gt;&lt;span class="ldml-refname"&gt;United States v. Fountain&lt;/span&gt;, &lt;span class="ldml-cite"&gt;768 F.2d 790, 805&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;7th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Swygert, J., concurring in part and dissenting in part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:475us1124,106sct1647,90led2d1911986" data-prop-ids="sentence_32063"&gt;&lt;span class="ldml-cite"&gt;475 U.S. 1124&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. 1647&lt;/span&gt;, &lt;span class="ldml-cite"&gt;90 L.Ed.2d 191&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="32494" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; evidence of the DeWeese incident was admissible as circumstantial evidence that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; entered Berg's bedroom with the intent to place his gun up against Berg's neck and shoot him.&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="32695" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885993342" data-vids="885993342" class="ldml-reference" data-prop-ids="sentence_32494"&gt;&lt;span class="ldml-refname"&gt;Rabideau&lt;/span&gt;, &lt;span class="ldml-cite"&gt;821 F.2d at 379-80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888997421" data-vids="888997421" class="ldml-reference" data-prop-ids="embeddedsentence_32753,sentence_32494"&gt;&lt;span class="ldml-refname"&gt;Hillsberg&lt;/span&gt;, &lt;span class="ldml-cite"&gt;812 F.2d at 334&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;evidence that earlier in the day &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; fired his gun into the air &lt;span class="ldml-quotation quote"&gt;"was germane in determining his state of mind at the time of the fatal shooting"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891068312" data-vids="891068312" class="ldml-reference" data-prop-ids="embeddedsentence_32977,sentence_32494"&gt;&lt;span class="ldml-refname"&gt;United States v. Tsinnijinnie&lt;/span&gt;, &lt;span class="ldml-cite"&gt;601 F.2d 1035, 1040&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;9th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;evidence of prior altercation was admissible to show that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; intentionally ran over the victim with a truck&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:445us966,100sct1657,64led2d2421980" data-prop-ids="sentence_32494"&gt;&lt;span class="ldml-cite"&gt;445 U.S. 966&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 1657&lt;/span&gt;, &lt;span class="ldml-cite"&gt;64 L.Ed.2d 242&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884583219" data-vids="884583219" class="ldml-reference" data-prop-ids="sentence_32494"&gt;&lt;span class="ldml-refname"&gt;United States v. Brunson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;549 F.2d 348, 361&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(evidence that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; earlier helped third &lt;span class="ldml-entity"&gt;party&lt;/span&gt; rob a market admissible to rebut &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s claim of unknowing state of mind when third &lt;span class="ldml-entity"&gt;party&lt;/span&gt; robbed and murdered postmistress in his presence)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:434us842,98sct140,54led2d1071977" data-prop-ids="sentence_32494"&gt;&lt;span class="ldml-cite"&gt;434 U.S. 842&lt;/span&gt;, &lt;span class="ldml-cite"&gt;98 S.Ct. 140&lt;/span&gt;, &lt;span class="ldml-cite"&gt;54 L.Ed.2d 107&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="33483" class="ldml-sentence"&gt;The fact that in the prior incident &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did not fire his gun bears on the weight of the evidence rather than its admissibility.&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="33621" class="ldml-sentence"&gt;The danger that the jury might misuse the evidence of the DeWeese incident was eliminated by &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s contemporaneous limiting instructions.&lt;/span&gt; &lt;span data-paragraph-id="31627" data-sentence-id="33774" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890822761" data-vids="890822761" class="ldml-reference" data-prop-ids="sentence_33621"&gt;&lt;span class="ldml-refname"&gt;Callis v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;692 P.2d 1045, 1051&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886908089" data-vids="886908089" class="ldml-reference" data-prop-ids="sentence_33621"&gt;&lt;span class="ldml-refname"&gt;Stull v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;140 Colo. 278, 284-85&lt;/span&gt;, &lt;span class="ldml-cite"&gt;344 P.2d 455, 461-62&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1959&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="33898" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="33898" data-sentence-id="33906" class="ldml-sentence"&gt;The remaining issue is whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; should have excluded evidence of the DeWeese incident under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="34022" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"The thrust of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34022"&gt;&lt;span class="ldml-cite"&gt;Rule 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; favors admissibility,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891735928" data-vids="891735928" class="ldml-reference" data-prop-ids="sentence_34022"&gt;&lt;span class="ldml-refname"&gt;People v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;785 P.2d 141, 146&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Rule 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;requires that the
&lt;span class="ldml-pagenumber" data-vol="795" data-rep="P.2d" data-page_type="labeled_number" data-val="1324" data-id="pagenumber_34160"&gt;&lt;/span&gt;
probative value of evidence in question be &lt;span class="ldml-quotation quote"&gt;'substantially outweighed'&lt;/span&gt; by the danger of unfair prejudice."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="34267" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891735928" data-vids="891735928" class="ldml-reference" data-prop-ids="sentence_34022"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="34271" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he need for exclusion must be clear since exclusion is a drastic remedy and less restrictive measures, such as cautionary instructions to the jury, may suffice to reduce the danger of prejudice to an acceptable level.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="34498" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891735928" data-vids="891735928" class="ldml-reference" data-prop-ids="sentence_34271"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34271"&gt;&lt;span class="ldml-refname"&gt;J. Wigmore &amp; P. Tillers, Wigmore on Evidence&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 10A, at 680&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="34579" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Proffered evidence which calls for exclusion as unfairly prejudicial is given a more specialized meaning of an undue tendency to suggest a decision on an improper basis, commonly but not necessarily an emotional one, such as sympathy, hatred, contempt, retribution or horror."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="34857" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891735928" data-vids="891735928" class="ldml-reference" data-prop-ids="sentence_34579"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="34861" class="ldml-sentence"&gt;The probative value of the district attorney's cross-examination of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; about the DeWeese incident, and DeWeese's rebuttal testimony, was not substantially outweighed by the danger of unfair prejudice.&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="35073" class="ldml-sentence"&gt;The evidence of the DeWeese incident was probative of a material fact, and rendered &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s version of events less believable in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; which largely turned on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s and Deeringer's credibility.&lt;/span&gt; &lt;span data-paragraph-id="33898" data-sentence-id="35286" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;Accord&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888684944" data-vids="888684944" class="ldml-reference" data-prop-ids="sentence_35073"&gt;&lt;span class="ldml-refname"&gt;Adkinson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;611 P.2d at 532&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35320" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="35320" data-sentence-id="35328" class="ldml-sentence"&gt;I &lt;span class="ldml-opiniontype"&gt;dissent&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35339" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="35339" data-sentence-id="35347" class="ldml-sentence"&gt;I am authorized to say that Chief Justice ROVIRA and Justice KIRSHBAUM join in this dissent.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35440" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35440" data-sentence-id="35440" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;1 § 18-3-102, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35471" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35471" data-sentence-id="35471" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2 § 18-2-201, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-102, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35532" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="35532" data-sentence-id="35533" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1359"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-309, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35563" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="35563" data-sentence-id="35564" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; instructed the jury that self-defense is an affirmative defense to a charge of first degree murder &lt;span class="ldml-quotation quote"&gt;"and all lesser offenses."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35699" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="35699" data-sentence-id="35700" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; cites &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888997421" data-vids="888997421" class="ldml-reference" data-prop-ids="sentence_35700"&gt;&lt;span class="ldml-refname"&gt;United States v. Hillsberg&lt;/span&gt;, &lt;span class="ldml-cite"&gt;812 F.2d 328&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;7th Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:481us1041,107sct1981,95led2d8211987" data-prop-ids="sentence_35700"&gt;&lt;span class="ldml-cite"&gt;481 U.S. 1041&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 S.Ct. 1981&lt;/span&gt;, &lt;span class="ldml-cite"&gt;95 L.Ed.2d 821&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, in which &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; pointed a gun at the victim but claimed that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not intend for it to go off.&lt;/span&gt; &lt;span data-paragraph-id="35699" data-sentence-id="35947" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; then admitted evidence of two prior instances on the same day the victim was shot in which &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; pointed a gun and fired it.&lt;/span&gt; &lt;span data-paragraph-id="35699" data-sentence-id="36096" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; reasoned that the prior instances demonstrated that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was capable of controlling the weapon and that it tended to prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; intentionally shot the victim.&lt;/span&gt; &lt;span data-paragraph-id="35699" data-sentence-id="36288" class="ldml-sentence"&gt;Unlike &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; in Hillsberg, Spoto does not claim that the gun accidentally went off while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was intentionally holding it at Berg's neck.&lt;/span&gt; &lt;span data-paragraph-id="35699" data-sentence-id="36433" class="ldml-sentence"&gt;Rather, Spoto claims that it went off during a struggle between him and Berg.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="36510" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="36510" data-sentence-id="36511" class="ldml-sentence"&gt;Scarcely less prejudicial was Spoto's own version of the incident that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; pointed the gun at DeWeese while interrogating him about some missing &lt;span class="ldml-entity"&gt;articles&lt;/span&gt; and asked DeWeese if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; swore to God.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="36701" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="36701" data-sentence-id="36701" class="ldml-sentence"&gt;1 &lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; testified that Bowman's exact statement was: &lt;span class="ldml-quotation quote"&gt;"You've got three seconds to put your pants on or &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ll put your pants on for you."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="36846" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="36846" data-sentence-id="36846" class="ldml-sentence"&gt;2 &lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; disputed each of these claims.&lt;/span&gt; &lt;span data-paragraph-id="36846" data-sentence-id="36893" class="ldml-sentence"&gt;On direct examination &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; initially intended to leave the gun in Bowman's truck, but decided to carry it into the apartment so that &lt;span class="ldml-quotation quote"&gt;"David &lt;span class="ldml-parenthetical"&gt;[Bowman]&lt;/span&gt; couldn't get back to it in any way."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36846" data-sentence-id="37106" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; also testified that when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; entered Deeringer's bedroom &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not intend to harm anyone, and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not draw his gun until &lt;span class="ldml-entity"&gt;he&lt;/span&gt; saw Berg reaching for the gun on the headboard.&lt;/span&gt; &lt;span data-paragraph-id="36846" data-sentence-id="37300" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; testified that when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; grabbed Berg's arm &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was trying to calm Berg down and defuse the situation, and his gun accidentally discharged as a result of his struggle with Berg.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
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